     Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 1 of 20



                    United States District Court
                      District of Massachusetts

                                 )
FERRING PHARMACEUTICALS, INC.,   )
                                 )
          Plaintiff-Counterclaim )
          Defendant,             )
                                 )        Civil Action No.
          v.                     )        13-12553-NMG
                                 )
BRAINTREE LABORATORIES, INC.,    )
                                 )
          Defendant-Counterclaim )
          Plaintiff.             )
                                 )

                          MEMORANDUM & ORDER

GORTON, J.

     This case concerns two pharmaceutical companies that have

competing products used for bowel preparation before

colonoscopies.   Plaintiff/counterclaim-defendant Ferring

Pharmaceuticals, Inc. (“Ferring”) claims that

Defendant/counterclaim-plaintiff Braintree Laboratories, Inc.

(“Braintree”) engaged in false advertising in violation of the

Lanham Act and unfair trade practices in violation of the

Massachusetts Consumer Protection Act, M.G.L. ch. 93A (“Chapter

93A”).   Ferring also alleges that Braintree diluted Ferring’s

trademark in its product, Prepopik.      Braintree counterclaims

that Ferring has, itself, engaged in false advertising and

unfair trade practices.    In August, 2014, the Court dismissed




                                  -1-
     Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 2 of 20



Braintree’s additional counterclaim that Ferring misappropriated

trade secrets.

  I. Factual and Procedural Background

     Ferring, a Delaware corporation with its principal place of

business in Switzerland, advertises and sells Prepopik, a

colonoscopy preparation medication.      Braintree, a Massachusetts

corporation with its principal place of business in Braintree,

Massachusetts, advertises and sells Suprep which is similarly

used prior to colonoscopies.

     In October, 2013, Ferring filed a complaint against

Braintree which, in turn, answered and counterclaimed.         In

August, 2014, this Court allowed Ferring’s motion to dismiss

Braintree’s counterclaims that Ferring had misappropriated trade

secrets and falsely advertised with respect to “flexible dosing”

and “helps achieve success.”     The Court denied Ferring’s motions

to dismiss Braintree’s false advertising counterclaims relating

to “superior cleansing efficacy” and “lowest volume.”         The Court

also denied Braintree’s motion for summary judgment without

prejudice.

     On April 22, 2016, Ferring filed motions for summary

judgment on Braintree’s counterclaims, its own Canadian Adverse

Reaction Newsletter (“Canadian Newsletter”) and “What’s NOT New

About Prepopik” (“comparison detailer”) claims and Braintree’s

affirmative defenses.    Braintree, in turn, filed its own motion

                                  -2-
     Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 3 of 20



for summary judgment on all of Ferring’s claims.        The motions

for summary judgment are pending before the Court.

II. Motions for Summary Judgment

  A. Legal Standard for Summary Judgment

     The role of summary judgment is “to pierce the pleadings

and to assess the proof in order to see whether there is a

genuine need for trial.” Mesnick v. Gen. Elec. Co., 950 F.2d

816, 822 (1st Cir. 1991).     The burden is on the moving party to

show, through the pleadings, discovery and affidavits, “that

there is no genuine dispute as to any material fact and that the

movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a).   A fact is material if it “might affect the outcome of

the suit under the governing law.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986).      A genuine issue of material

fact exists where the evidence with respect to the material fact

in dispute “is such that a reasonable jury could return a

verdict for the nonmoving party.” Id.

     If the moving party has satisfied its burden, the burden

shifts to the non-moving party to set forth specific facts

showing that there is a genuine, triable issue. Celotex Corp. v.

Catrett, 477 U.S. 317, 324 (1986).      The Court must view the

entire record in the light most favorable to the non-moving

party and indulge all reasonable inferences in that party’s

favor. O’Connor v. Steeves, 994 F.2d 905, 907 (1st Cir. 1993).

                                  -3-
     Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 4 of 20



Summary judgment is appropriate if, after viewing the record in

the non-moving party’s favor, the Court determines that no

genuine issue of material fact exists and that the moving party

is entitled to judgment as a matter of law.

  B. Motions for Summary Judgment on Ferring’s Lanham Act and
     Chapter 93A Claims

     Both parties move for summary judgment on Ferring’s claims

that Braintree’s use of the Canadian Newsletter and comparison

detailer constituted false or misleading advertising under the

Lanham Act and violated Chapter 93A.      Braintree also moves for

summary judgment on Ferring’s “Clean Freak” claim.

       1. Legal Standard

     The Lanham Act prohibits “commercial advertising or

promotion” that “misrepresents the nature, characteristics, [or]

qualities” of a product. 15 U.S.C. § 1125(a)(1)(B).         To prevail

on a claim brought under that statute, a plaintiff must prove:

     (1) the defendant made a false or misleading description of
     fact or representation of fact . . . in a commercial
     advertisement about [its] own or another’s product; (2) the
     misrepresentation is material . . . ; (3) the
     misrepresentation actually deceives or has the tendency to
     deceive a substantial segment of its audience; (4) the
     defendant placed the false or misleading statement in
     interstate commerce; and (5) the plaintiff has been or is
     likely to be injured as a result of the misrepresentation,
     either by direct diversion of sales or by a lessening of
     goodwill associated with its products.

Cashmere & Camel Hair Mfrs. Inst. v. Saks Fifth Ave., 284 F.3d

302, 310-11 (1st Cir. 2002), cert. denied, 537 U.S. 1001 (2002).


                                  -4-
     Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 5 of 20



      There are two paths to success on a Lanham Act claim.            A

plaintiff can show that an advertisement is “literally false” in

which case consumer deception is presumed. Clorox Co. Puerto

Rico v. Proctor & Gamble Commercial Co., 228 F.3d 24, 33 (1st

Cir. 2000).   Consumer deception is also presumed if a plaintiff

demonstrates an intentional attempt to confuse consumers.

Cashmere, 284 F.3d. at 314, 16.      Alternatively, a plaintiff may

show that an advertisement is “literally true or ambiguous” but

misleads consumers. Chlorox, 288 F.3d at 33.        For misleading

advertisements, a plaintiff must prove that consumers were

actually misled which is commonly accomplished through consumer

surveys. Id. at 36.

     An advertisement is considered material under the Lanham

Act if it is “likely to influence the purchasing decision.”

Cashmere, 284 F.3d. at 311.     The materiality requirement is also

met if the statement concerns one of the product’s “inherent

characteristic[s].” Id. at 312.

     To have standing to pursue a Lanham Act claim, a plaintiff

must demonstrate that it is within the zone of interests

protected by § 1125(a) by

     alleg[ing] injury to a commercial interest in reputation or
     sales.

Lexmark Int'l, Inc. v. Static Control Components, Inc., 134 S.

Ct. 1377, 1390 (2014).    Furthermore, a plaintiff must show that


                                  -5-
     Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 6 of 20



the defendant’s false or misleading promotion proximately caused

financial or reputational damage. Id. at 1391.

       2. Canadian Adverse Reaction Newsletter

               a. Relevant Background

     In addition to Prepopik, Ferring produces a chemically-

identical treatment called “Pico-Salax” which is sold in other

countries.    After the Food and Drug Administration (“FDA”)

approved Prepopik, Ferring issued a press release stating that:

     Ferring has a long history in the international
     gastroenterology market, where PREPOPIK is available in
     Canada (marketed under the name PICO-SALAX) . . . .

Although Prepopik and Pico-Salax have the same chemical

composition, there are several purported differences between the

treatments.   Prepopik must be prescribed but Pico-Salax is

available over the counter.     The Prepopik instructions direct

users to consume approximately two liters of fluid, while the

Pico-Salax instructions indicate that users should consume three

to four liters of fluid.    Furthermore, Prepopik is only approved

for adult colonoscopy preparation, whereas Pico-Salax is

approved for children and adults in preparation for x-rays,

surgeries and colonoscopies.

     The Canadian government published an article about Pico-

Salax in January, 2013, in the Canadian Adverse Reaction

Newsletter, Vol. 23, Issue 1.     The Canadian Newsletter states



                                  -6-
     Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 7 of 20



     The diarrhea produced by [Pico-Salax] can lead to
     dehydration and loss of electrolytes, particularly sodium
     which may result in hyponatremia and convulsions . . . .
     As of June 30, 2012, Health Canada received 11 reports of
     convulsions suspected of being associated with Pico-Salax.

Ferring contends that, in violation of the Lanham Act and

Chapter 93A, Braintree used the Canadian Newsletter to make

false and misleading statements about Prepopik.        Both parties

move for summary judgment on that claim.

                  b. Ferring

     With respect to Ferring’s motion for summary judgment, a

genuine issue of material fact remains as to whether Braintree’s

use of the Canadian Newsletter was false or misleading.         Ferring

submits that Braintree’s use of the letter to raise safety

concerns about Prepopik was literally false because the letter

concerns Pico-Salax, a different treatment, and does not

indicate that Pico-Salax is dangerous.       In response, Braintree

offers evidence that Ferring’s own statements equated Prepopik

and Pico-Salax.     Braintree also contends that, when the amount

of additional hydration that Ferring’s own expert, Dr. Gerald

Bertiger, recommends patients use with Prepopik is considered,

the appropriate hydration for Prepopik and Pico-Salax is almost

identical.

     Given the conflicting evidence as to whether Prepopik and

Pico-Salax are equivalent, a genuine issue of material fact

persists as to whether Braintree’s use of the letter to point

                                  -7-
     Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 8 of 20



out safety concerns was literally false.       Consequently, such an

issue also persists as to whether there is a presumption of

consumer deception. See Cashmere, 284 F.3d at 314–15.

                c. Braintree

     Braintree’s motion is similarly jeopardized by the genuine

issue of material fact that remains as to whether the use of the

newsletter by Braintree employees was false or misleading.             It

is clear that Braintree employees made extensive use of the

Canadian Newsletter but there is conflicting evidence as to

whether it was used to highlight potential safety concerns or to

support misleading claims, such as statements that Prepopik is

“deadly” and “kills people.”

     Accordingly, the Court will deny both parties’ motions for

summary judgment with respect to the Lanham Act claim involving

the Canadian Newsletter.    Because claims under the Lanham Act

and Chapter 93A rise and fall together, the Court will also deny

both parties’ motions for summary judgment as to the Canadian

Newsletter Chapter 93A claim. Empire Today, LLC v. Nat'l Floors

Direct, Inc., 788 F. Supp. 2d 7, 26 (D. Mass. 2011) (“To

establish a false advertising claim under Chapter 93A, a

plaintiff must prove all of the elements of a false advertising

claim under Section 43(a) of the Lanham Act.”).




                                  -8-
     Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 9 of 20



       3. Comparison Detailer

               a. Background

     The comparison detailer is an FDA-approved flier that

Braintree distributed to doctors’ offices.       Across the top it

stated “What’s NOT New About Prepopik?”       It then listed Prepopik

characteristics that are purportedly not new, such as the

formula, the acceptability of use for patients with severely

reduced renal function and the effect of antibiotics on

efficacy.    The flyer also compared the price of Prepopik with

other bowel preparation treatments, including Suprep.

               b. Ferring

     Ferring’s summary judgment motion cannot prevail because

genuine issues of material fact remain as to whether the

comparison detailer was misleading.

     Ferring asserts that efficacy percentages associated with

the comparison detailer are establishment claims that are not

backed by reliable studies.     In contrast to broad assertions of

superiority, establishment claims state that “tests or studies

prove a certain fact.” Gillette Co. v. Norelco Consumer Prod.

Co., 946 F. Supp. 115, 121 (D. Mass. 1996) (internal quotation

ommitted).   To show that an establishment claim is literally

false, a plaintiff must show that the study at issue did not

support the claim or was unreliable. Id.



                                  -9-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 10 of 20



     During discovery, Ferring unearthed only two instances of

the comparison detailer being associated with efficacy

percentages: 1) a handwritten annotation on a flyer that stated

“plus only 74% efficacy compared to 98% with Suprep!” and 2) a

sales log entry that indicated that the comparison detailer had

been used along with a statement that

     only 84% of patients had successful clean outs taking
     [Prepopik] compared to 98% of [Suprep] patients.

The Lanham Act applies only if advertisements are distributed to

“the consuming public.”    Ass'n, Inc. v. La Cruz Azul De Puerto

Rico, Inc., 332 F.3d 6, 19 (1st Cir. 2003); see also Fashion

Boutique of Short Hills, Inc. v. Fendi USA, Inc., 314 F.3d 48,

58 (2d Cir. 2002) (determining that 27 oral statements did not

constitute commercial advertising under the Lanham Act).

     The two instances in which Braintree employees associated

the comparison detailer with efficacy percentages are inadequate

to show that the efficacy percentages were distributed to the

consuming public.   Accordingly, Ferring is incorrect in its

contention that Braintree’s use of the comparison detailer is an

establishment claim.

     As for the information actually included in the comparison

detailer, Ferring does not submit evidence that shows that those

statements are literally false.     Instead, Ferring asserts that

the omission of material information as to Suprep’s safety was


                                 -10-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 11 of 20



misleading and the detailer lacked fair balance. See Gillette

Co., 946 F. Supp. at 131.

     Because Ferring claims that the text printed in the

comparison detailer is misleading, Ferring must also provide

either evidence that the comparison detailer was intentionally

misleading or that it actually misled consumers. Cashmere, 284

F.3d at 316.   Ferring submits that the study conducted by

Braintree’s expert, Robert Klein, demonstrates that the

comparison detailer conveyed the misleading message that

Prepopik was unsafe.     Braintree, of course, contests that

interpretation of its expert’s study.      Given the contested

evidence about whether the comparison detailer misled consumers,

Ferring is not entitled to summary judgment on that claim.

                  c. Braintree

     Braintree also moves for summary judgment on the comparison

detailer claim.     When the facts are viewed in the light most

favorable to Ferring, a genuine issue of material fact persists

as to whether the comparison detailer was misleading, thereby

jeopardizing Braintree’s motion.

     Given that summary judgment on the Lanham Act comparison

detailer claim is unwarranted, the Court will also deny judgment

on the Chapter 93A claim. Empire Today, 788 F. Supp. 2d at 26.




                                 -11-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 12 of 20



       4. Clean Freak Advertisement

                a. Relevant Background

     Braintree moves for summary judgment on Ferring’s claim

that the following statements in the “Clean Freak” advertisement

violate the Lanham Act and Chapter 93A:

     Suprep Bowel Prep Kit achieved ‘excellent’ bowel cleansing
     in patients based on investigator grading . . .
     Significantly more patients had ‘excellent’ preps with
     SUPREP Bowel Prep Kit compared to MoviPrep[.]

Those statements are based on two studies that Braintree

conducted.

                b. Analysis

     Braintree is entitled to summary judgment on the Clean

Freak claim because that claim is not within the zone of

interests that the Lanham Act protects.      The United States

Supreme Court laid out the requirements that plaintiffs must

meet in order to have standing to pursue a false advertising

claim under the Lanham Act in Lexmark Int'l, Inc. v. Static

Control Components, Inc., 134 S. Ct. 1377 (2014).        First, in

order to be within the zone of interests protected by that

statute, a plaintiff must show that the deceptive advertising

financially injured its sales or reputation. Id. at 1390.

Second, a plaintiff must show proximate cause, specifically

“economic or reputational injury” that is a direct result of the

false advertising. Id. at 1391.


                                 -12-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 13 of 20



     In the present case, the Clean Freak advertisement never

mentions Prepopik.   Instead, it compares Suprep to Moviprep, a

different treatment.   Ferring does not quibble about the non-

reference but directs the Court’s attention to five instances

where Braintree employees referred to the Clean Freak

advertisement in sales conversations that also addressed

Prepopik’s efficacy.   Those examples are insufficient to show

that Ferring suffered any financial or reputational harm as a

direct result of Braintree’s advertising.       Indeed, there is a

discontinuity between the treatment targeted by the

advertisement, Moviprep, and the party alleging injury here,

Ferring, the producer and promoter of Prepopik.        Even when the

undisputed facts are construed in the light most favorable to

Ferring, it has failed to show a direct injury arising from the

Clean Freak promotion.    Consequently, Ferring lacks standing to

make such a claim.

     Moreover, even assuming arguendo that Ferring has standing,

the five isolated instances of Braintree employees mentioning

the Clean Freak advertisement in connection with Prepopik is

insufficient to show that the promotion was publicly distributed

as an advertisement or promotion. See Podiatrist Ass'n, Inc. 332

F.3d at 19.   Braintree is entitled to judgment on the Clean

Freak claim as a matter of law.



                                 -13-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 14 of 20



     For the same reasons mentioned above, Braintree is also

entitled to summary judgment on Ferring’s Chapter 93A claims

with respect to the Clean Freak advertisement. Empire Today, 788

F. Supp. 2d at 26.

  C. Braintree’s Motion for Summary Judgment on Ferring’s State
     Trademark Dilution Claim

         1. Legal Standard

     Massachusetts General Laws, Chapter 110H (“Chapter 110H”)

entitles the holder of a mark registered pursuant to that

chapter to obtain injunctive relief if there is a

     [l]ikelihood of injury to business reputation or of
     dilution of the distinctive quality of a mark . . . .

M.G.L. ch. 110H, § 13.    To prove trademark dilution pursuant to

Chapter 110H, a plaintiff must demonstrate that 1) its mark is

distinctive and 2) the defendant’s use of a similar mark creates

a possibility of dilution. Astra Pharm. Prods., Inc. v. Beckman

Instruments, Inc., 718 F.2d 1201, 1209 (1st Cir. 1983).         The

plaintiff must also show that there is a “distinctive trade name

such as a coined word” that has “acquired a distinctive

secondary meaning.” PPG Indus., Inc. v. Clinical Data, Inc., 620

F. Supp. 604, 606 (D. Mass. 1985).

         2. Analysis

     Ferring claims that Braintree has diluted its trademark in

Prepopik by comparing Prepopik to another Ferring product, Pico-

Salax.   Braintree responds that Ferring, itself, has equated

                                 -14-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 15 of 20



Prepopik and Pico-Salax.    Indeed, when the FDA first approved

Prepopik, Ferring issued a press release stating that

     PREPOPIK is available in Canada (marketed under the name
     PICO-SALAX). . . .

On its website, Ferring even combines the names of Prepopik and

Pico-Salax into one word “PICOPREP,” lists both Prepopik and

Pico-Salax under “PICOPREP” and identifies the ingredients of

both as “sodium picosulphate, magnesium oxide, and citric acid.”

Ferring does not dispute Braintree’s argument.

     Given Ferring’s own equating of Prepopik to Pico-Salax,

Prepopik has no distinctive trade name or secondary meaning in

relation to Pico-Salax.    Braintree is entitled summary judgment

on the trademark dilution claim.

  D. Ferring’s Motion for Summary Judgment on Braintree’s
     Affirmative Defenses

     Ferring contends it is entitled to summary judgment on all

of Braintree’s affirmative defenses.      Ferring specifically

addresses Braintree’s unclean hands defense, asserting that

Braintree’s allegations of bad faith do not relate to Ferring’s

affirmative claims and that Braintree has failed to submit

evidence that Ferring’s conduct was unconscionable, rises to the

level of fraud or was done in bad faith.

     The doctrine of unclean hands provides a broad defense when

the acts at issue




                                 -15-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 16 of 20



     in some measure affect the equitable relations between the
     parties in respect of something brought before the court
     for adjudication.

Texaco Puerto Rico, Inc. v. Dep't of Consumer Affairs, 60 F.3d

867, 880 (1st Cir. 1995) (internal quotation and citation

omitted).   When viewed in the light most favorable to Braintree,

Ferring’s alleged 1) act of equating Prepopik and Pico-Salax, 2)

claim of superior cleansing efficacy and 3) off-label promotion

suffice to preserve a genuine issue of material fact as to

whether the equitable relations of the parties were affected.

     Ferring also makes a conclusory assertion that there are no

issues of material fact as to Braintree’s 13 other affirmative

defenses because no evidence has been uncovered to support them

and Braintree’s Fed. R. Civ. P. 30(b)(6) witness was not

familiar with them. Braintree is, however, correct in its

contention that Rule 30(b)(6) witnesses are not required to

testify as to alleged affirmative defenses. Neponset Landing

Corp. v. Nw. Mut. Life Ins. Co., 279 F.R.D. 59, 61 (D. Mass.

2011).

     Ferring offers no other evidence to justify summary

judgment on Braintree’s affirmative defenses.       Consequently, the

Court will deny Ferring’s motion for summary judgment thereon.




                                 -16-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 17 of 20



  E. Ferring’s Motion for Summary Judgment on Braintree’s Lanham
     Act and Chapter 93A Counterclaims

     Ferring moves for summary judgment on Braintree’s Lanham

Act and Chapter 93A counterclaims as to the “lowest volume” and

“superior cleansing efficacy” promotions.

       1. “Lowest Volume”

     Braintree counterclaims that Ferring’s advertisement that

Prepopik has the “lowest volume of active ingredient” is false

or misleading.   Ferring moves for summary judgment on that

counterclaim on the grounds that the promotion is true.         Ferring

also contends that Braintree failed to show that the promotion

is misleading or involves material information and that

Braintree lacks standing.

     When viewed in the light most favorable to Braintree,

genuine issues of material fact persist as to whether Ferring’s

lowest volume promotion is literally false.       Literal falsity

involves two questions of fact: 1) what claim was actually made

and 2) whether the claim was false. Clorox Co., 228 F.3d at 34.

     As Braintree has pointed out, a fact finder could interpret

Ferring’s lowest volume claim as invoking a comparison to the

entire market of bowel preparation treatments, including tablets

which have a lower volume than Prepopik.      Furthermore, emails

from Ferring employees, internal Ferring documents and Ferring’s

own expert, Dr. Gerald Bertiger, all acknowledge that additional


                                 -17-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 18 of 20



hydration is needed, including hydration with liquids containing

electrolytes, in order for Prepopik to work effectively.

Consequently, when the evidence is viewed in the light most

favorable to Braintree, a genuine issue of material fact remains

as to whether the lowest volume claim is literally false.

     Braintree has also shown that Ferring’s claim of the lowest

volume of active ingredient is material because it involves an

essential characteristic of Prepopik and because Ferring

aggressively marketed Prepopik as being low volume. Cashmere,

284 F.3d at 312.   As for causation, because the evidence is

viewed in the light most favorable to the non-moving party, Dr.

Epstein’s report regarding financial damages to Braintree

suffices to preserve a genuine issue of material fact. See

Lexmark, 134 S. Ct. at 1390-91.     Therefore, summary judgment on

Braintree’s lowest volume counterclaim is precluded and summary

judgment on Braintree’s Chapter 93A counterclaim will also be

denied. Empire Today, 788 F. Supp. 2d at 26.

       2. “Superior Cleansing Efficacy”

     Ferring moves for summary judgment on Braintree’s false

advertising counterclaim with respect to the former promotion

that Prepopik has “superior cleansing efficacy.”        Ferring

contends that Braintree has failed to demonstrate that the

superior cleansing efficacy promotion is false or misleading.

According to Ferring, the superior cleansing efficacy promotion

                                 -18-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 19 of 20



is an establishment claim because it specifically cited the SEE

CLEAR I study. See Gillette Co., 946 F. Supp. at 121.         To

demonstrate that an establishment claim is literally false, the

proponent must show that the study at issue does not support it

or is unreliable. Id.

     Ferring is correct that the superior cleansing efficacy

claim is an establishment claim because it relies on the SEE

CLEAR I study.1   A genuine dispute of material fact remains,

however, as to whether that study is reliable. See Gillette Co.,

946 F. Supp. at 121.    During discovery, Braintree produced a

declaration from Dr. Douglas Rex, one of the co-authors of the

study which states that

     the SEE CLEAR I study and the article that [he] co-authored
     about it do not reliably support a marketing claim of
     Prepopik’s superior cleansing . . . .

Dr. Rex’s declaration with respect to the reliability of the SEE

CLEAR I study also suggests that there is question of fact as to

whether the presumption of consumer deception that accompanies

literal falsity applies to that claim. See Cashmere, 284 F.3d at

314–15.   Therefore Ferring is not entitled to summary judgment

on either the Lanham Act or the Chapter 93A counterclaims based

on the superior cleansing efficacy promotion.




1 The Superior Cleansing Efficacy advertisement also cited the
SEE CLEAR II study but, in that regard, the study merely
concluded that Prepopik was non-inferior.
                                 -19-
    Case 1:13-cv-12553-NMG Document 583 Filed 10/25/16 Page 20 of 20



                                  Order

     For the foregoing reasons,

  1. Ferring’s motion for summary judgment (Docket No. 337) is
     DENIED,

  2. Ferring’s motion for summary judgment (Docket No. 338) is
     DENIED and

  3. Braintree’s motion for summary judgment (Docket No. 339)
     is, with respect Ferring’s Lanham Act and Chapter 93A
     claims based on the Clean Freak advertisement and Ferring’s
     trademark dilution claim, ALLOWED but otherwise DENIED.


So ordered.


                                    /s/ Nathaniel M. Gorton
                                     Nathaniel M. Gorton
                                    United States District Judge

Dated October 25, 2016




                                 -20-
